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                 Exhibit
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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 Philadelphia Yearly Meeting of the
 Religious Society of Friends, et al.,

                    Plaintiffs,

 v.

 U.S. Department of Homeland                         Civil Case No. ___________
 Security, et al.,

                    Defendants.



                        DECLARATION OF RUBY STEIGERWALD

      I, Ruby Jane Steigerwald, declare under penalty of perjury, under 28 U.S.C.

§ 1746, that the following is true and correct:

      1.    I am a member of the Adelphi Friends Meeting, located in Adelphi,

            Maryland.

      2.    I have been attending the Adelphi Meeting since approximately 2015.

      3.    I previously attended and was a member of the Twin Cities Friends

            Meeting in Minneapolis-St. Paul, Minnesota, where I was an attender and

            member for 16 years.

      4.    I also attended the Monteverde Friends Meeting in Monteverde,

            Puntarenas Province, Costa Rica, for one-and-a-half years, from 1997 to

            1999.
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5.    I am currently Co-Clerk of the Children’s Religious Education Committee

      and a member of the Climate Action Working Group within the Peace and

      Social Concerns Committee at the Adelphi Meeting.

6.    While a member of the Twin Cities Friends Meeting, I was a member of the

      First Day School Committee, which covers children’s religious education. I

      was also the Clerk of Meeting. I also served on the El Salvador Committee

      of the Northern Yearly Meeting, whose purpose is to foster a relationship

      between El Salvador Yearly Meeting and Northern Yearly Meeting,

      including youth exchange programs and supporting a Quaker school in El

      Salvador.

7.    I am a retired teacher. Throughout most of my professional career, I worked

      with the children of immigrants. I also taught English as a Second

      Language courses to adults.

                  My worship at the Adelphi Friends Meeting

8.    I regularly attend weekly worship at the Adelphi Friends Meeting House.

9.    Our weekly worship meeting begins with about 15 minutes of singing

      hymns.

10. We then begin worship, which lasts about an hour. Children join for the

      first 20 minutes of that time.

11. Worship consists of sitting in silence and waiting to hear the voice of God.

      We sometimes refer to this process as seeking the inner light, inner voice, or

      the Christ within.
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12. After worship, we share “Joys and Concerns,” during which people have the

    opportunity to talk about things happening in their life or to share thoughts

    or feelings that may not rise to the level of something to be shared during

    worship.

13. During Joys and Concerns, we hold each other in the light.

14. Thereafter, we exchange greetings by shaking hands or hugging those

    around us, and newcomers introduce themselves.

15. The meeting concludes by breaking bread together.

16. Joys and Concerns, greeting one another, and breaking bread together are

    important aspects of our religious exercise because it is important to our

    religious experience to know the other people who are a part of the Adelphi

    Meeting.

17. The Adelphi Friends Meeting offers remote participation in weekly worship

    via Zoom.

18. While it is important because it allows people who are ill, who have mobility

    issues, or who live far away from the meeting house to access worship, I

    prefer to worship in person.

19. We worship in community, and it is harder for me to feel that communal

    connection when worshipping via Zoom.

                       The Testimony of Equality

20. The Friends have a set of values, known as Testimonies, that inform how

    we live and how we worship.
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21. One of the Testimonies is Equality. The Testimony of Equality means that

    we see that of God in all people.

22. That Testimony of Equality means that we value and worship without

    regard to a person’s background, immigration status, or how they arrived in

    this country.

                    Engagement with the community

23. The Adelphi Meeting engages with our community in a number of ways.

24. Because the Adelphi Meeting is located in an area with a large population

    of Hispanic people and Spanish-speakers, we include Spanish-language

    materials about Quakerism in the foyer of the meeting house.

25. We also translate important social-justice related committee minutes into

    Spanish and publish them on our website.

26. In the past, we have hung a large banner in front of our meeting house

    welcoming immigrants in our community. The banner, citing Leviticus

    19:33-34, said, “Do not mistreat strangers. Treat them as citizens. Love

    them as yourself.”

27. We have regularly supported immigrant families settling in our community,

    including families from Afghanistan, Burundi, Kenya, and Nicaragua,

    many of whom were refugees and escaping civil unrest. Some of these

    families joined our meeting for worship.

28. We also open our meeting house and grounds to the community.



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29. For example, the Adelphi Meeting is a member of the Adelphi Neighborhood

    Association, and the Association holds its meetings in our meeting house.

30. We built a playground on our grounds and ensure that it is open to families

    and children in our community, regardless of whether they attend or are

    members of the Adelphi Meeting.

31. We also hold an annual event, the Strawberry Festival, which is open to all

    members of the local community, regardless of whether they are members

    of the Adelphi Meeting.

 The importance of communal worship with all-comers, including
                        immigrants

32. Communal worship is a core aspect of my faith and religious exercise, and

    restrictions on communal worship would negatively affect my religious

    exercise and ability to practice my faith.

33. We believe that everyone has their own connection to spirit, or access to the

    divine.

34. Having as many people attend our meetings as possible is an important

    aspect of worship, because every individual who attends presents an

    opportunity for God to speak to us through them.

35. When we have a deep spiritual experience, it is because we have all sensed

    something and been in the same spiritual presence together, which can only

    happen through communal participation in worship.




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36. Radical inclusivity, including inclusivity of people from different

    backgrounds and cultures, is also an important aspect of our religious

    worship, because it allows access to the divine through the most sources

    possible.

37. The specter or actual presence of armed law enforcement officers coming

    near or inside our meeting house during worship is very disturbing and

    would be incredibly disruptive and traumatic.

38. I believe that it may lead some members of our community to refrain from

    attending weekly worship in person, particularly Latino members and

    people with children.

39. If some people cease attending weekly worship, it would negatively affect

    the ability of our attenders and members to gather together for communal

    worship.

40. If some people cease attending weekly worship, my own ability to worship

    will be diminished.

41. If I were permitted to worship only with those with lawful immigration

    status, it would not only negatively affect my ability to worship with all-

    comers, but it would infringe my religious beliefs otherwise, including the

    Testimony of Equality.

42. The Friends are anti-violence and a peace church. We do not take up arms.

    And we stand in the power that removes the occasion of violence and war.



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